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16

17                                 UNITED STATES DISTRICT COURT

18                                NORTHERN DISTRICT OF CALIFORNIA

19                                    SAN FRANCISCO DIVISION

20   NATALIE DELGADO, individually and on             Case No. 3:23-cv-04181-SI
     behalf of all others similarly situated,
21
                     Plaintiff,                       JOINT PROPOSED SECOND
22                                                    AMENDED CASE SCHEDULE
                                                                      ISTRIC
           v.
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     META PLATFORMS, INC.,
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                     Defendant.
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                         JOINT PROPOSED SECOND AMENDED CASE SCHEDULE
                                     CASE NO. 3:23-CV-04181-SI
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 1             Plaintiff Natalie Delgado and Defendant Meta Platfonns, Inc. respectfully submit this proposed
 2   schedule pursuant to the Court's April 18, 2025 Order. Dkt. 97.

 3             At the April 18, 2025 case management conference, this Court granted Meta's request to file

 4   an early summary judgment motion and instructed the Parties to meet and confer regar·ding a new

 5   schedule. Dkt. 97. Having met and confen ed, the Parties jointly propose the below schedule.

 6             While the Parties agree to the below proposed schedule, they cmTently have a dispute

 7   concerning the scope of merits discove1y relevant to the early summa1y judgment motion. The Parties

 8   anticipate bringing that dispute to the Court's attention sho1tly. The outcome of that dispute may

 9   require fuit her adjustments to the schedule proposed below.

10                              Event                                 Current Deadline            Proposed New Deadline
11

12       Deadline for Completion ofNon-Expe1t                                    X                   September 25, 2025
         Discove1y Relevant to Ear·ly Smnmary
13       Judgment Motion Merits Issues
14

15       Deadline for Plaintiffs Service of Expe1t                               X                     October 23, 2025
         Repo1t(s), if any, related to Ear·ly Smnmary
16       Judgment Merits Issues
17

18       Deadline for Defendant's Service of Expert                              X                   November 20, 2025
         Rebuttal Repo1t(s), if any, related to Ear·ly
19       Smnmary Judgment Merits Issues
20

21       Deadline for Plaintiff's Service of Rebuttal                            X                      January 5, 2026
         Expe1t Repo1t(s), if any, related to Early
22       Smnmary Judgment Merits Issues 1
23

24       Deadline for Completion of Expe1t Discove1y                             X                     Janua1y 15, 2026
         on Ear·ly Smnmary Judgment Merits Issues
25

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     1
28     Plaintiff shall be entitled to a rebuttal expe1t repo1t related to early summa1y judgment merits issues only to the extent
     that Defendant's repo1t raises new issues that could not reasonably have been anticipated in Plaintiff's opening repo1t.


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 1
                           Event                             Current Deadline     Proposed New Deadline
 2

 3
      Deadline for Defendant to File Early Summaiy                  X                 Janmuy 29, 2026
 4    Judgment Motion

 5

 6    Deadline for Plaintiff to Respond to Early                    X                  March 5, 2026
      SUIIllnaiy Judgment Motion
 7

 8    Deadline for Meta to File Reply in Suppo1i of                 X                   April 2, 2026
 9    Early SUIIllnaiy Judgment Motion

10
      Heai·ing on Eai·ly Summaiy Judgment Motion                    X                  April 24, 2026
11

12
      Plaintiffs Deadline to File: (1) Motion for             June 11, 2025             May 7, 2026
13    Class Ce1iification and (2) Expe1i Repo1is
      Related to Class Ce1iification
14

15
      Defendant's Deadline to File: (1) Response to          August 11 , 2025           June 11, 2026
16    Plaintiff's Motion for Class Ce1iification and (2)
      Expe1i Repo1is Related to Class Certification
17

18
      Plaintiffs Deadline to File: (1) Reply in               September 19,             July 9, 2026
19    Suppo1i of Class Ce1i ification and (2) Rebuttal            2025
      Expe1i Repo1is Related to Class Ce1i ification
20

21
      Heai·ing on Motion for Class Ce1iification             Januaiy 23, 2026,          July 31, 2026
22                                                              at 10:00 am
23
            The Paii ies fmiher advise the Comi that the mediation previously scheduled for July 18, 2025
24
     was cancelled in light of the eai·ly sUIIllnaiy judgment motion. The Paii ies anticipate rescheduling the
25
     mediation to a date in eai·ly 2026 after Meta's early sUIIllnaiy judgment motion is fully briefed.
26

27          A fuiiher Case Management Conference is set for September 26, 2025, at 3:00 p.m.

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                           JOINT PROPOSED SECOND AMENDED CASE SCHEDULE
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 1   Dated: May 9, 2025                           LATHAM & WATKINS LLP
 2                                                By:     /s/ Gary S. Feinerman
                                                          Gary S. Feinerman
 3
                                                  Attorneys for Meta Platforms, Inc.
 4

 5   Dated: May 9, 2025                           GOLDENBERG HELLER & ANTOGNOLI, P.C.
 6                                                By:     /s/ Kevin P. Green
                                                          Kevin P. Green
 7
                                                  Attorneys for Plaintiff Natalie Delgado
 8

 9                                  CIVIL L.R. 5-1(i)(3) ATTESTATION

10          Pursuant to Civil Local Rule 5-1(i)(3), I, Gary S. Feinerman, hereby attest under penalty of

11   perjury that concurrence in the filing of this document has been obtained from all signatories.

12

13   Dated: May 9, 2025                           LATHAM & WATKINS LLP

14                                                By: /s/ Gary S. Feinerman
                                                      Gary S. Feinerman
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                           JOINT PROPOSED SECOND AMENDED CASE SCHEDULE
                                       CASE NO. 3:23-CV-04181-SI
